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                                           May 22, 2025


    Via ECF

    The Honorable William G. Young
    United Stated District Judge
    District of Massachusetts
    John Joseph Moakley U.S. Courthouse
    1 Courthouse Way, Suite 2300
    Boston, MA 02210


           Re:     American Association of University Professors v.
                   Rubio, No. 25-cv-10685-WGY

    Dear Judge Young,

       Plaintiffs write in response to Defendants’ Motion for a Protective
    Order and Motion to Dispense with Rule 65(a) Trial on the Merits, filed
    yesterday evening. ECF No. 94 (“Defs.’ Mot.”). The Court should sum-
    marily deny both motions at today’s case management conference for
    the reasons that follow.

        First, Defendants’ argument that this case is limited to the admin-
    istrative record and that discovery is barred is entirely without merit.
    To start, Defendants flatly deny the existence of the ideological-depor-
    tation policy Plaintiffs challenge. See, e.g., ECF No. 65, at 12. On their
    theory, there is no relevant administrative record to produce. It is there-
    fore unsurprising that they have yet to file one or to commit to filing
    one—and when Plaintiffs asked Defendants in a meet and confer what
    they believed constituted the administrative record, Defendants were
    unable to answer. Moreover, because Defendants deny the existence of
    the policy that Plaintiffs challenge, any administrative record they do
    file will be unresponsive to Plaintiffs’ claims.1


       1 Defendants cite no authority for their assertion that “[b]ecause the APA is

    the waiver of sovereign immunity, judicial review depends solely on a review
    of an administrative record,” Defs.’ Mot. 5, and any such rule would be nonsen-
    sical. As the First Circuit has recognized, the APA’s waiver of sovereign
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        Defendants’ filing of an administrative record should not in any
    event affect Plaintiffs’ right to take discovery on their First Amendment
    claims, which arise directly under the Constitution. See, e.g., Grill v.
    Quinn, 2012 WL 174873, at *2 (E.D. Cal. Jan. 20, 2012) (“A direct con-
    stitutional challenge is reviewed independent of the APA. As such the
    court is entitled to look beyond the administrative record into this
    claim.” (citing Porter v. Califano, 592 F.2d 770 (5th Cir. 1979)); accord
    Texas v. Biden, 2021 WL 4552547, at *3–4 (N.D. Tex. July 19, 2021);
    Bolton v. Pritzker, 2016 WL 4555467, at *4 (W.D. Wash. Sept. 1, 2016);
    Order Granting Motion for Leave to Conduct Discovery and Set a Dis-
    covery Plan, Jordan v. Wiley, No. 7-CV-00498 (D. Colo. Nov. 10, 2008),
    Docket No. 71 (finding no legal basis for defendants’ effort to stay dis-
    covery on constitutional claims pending the adjudication of overlapping
    APA claims, and allowing discovery to proceed “[i]n the interest of a
    speedy and fair resolution of Plaintiff’s constitutional claims”); see also
    Jordan v. Wiley, 2009 WL 980313 (D. Colo. Apr. 8, 2009) (granting mo-
    tion to compel discovery on constitutional claims). And limiting Plain-
    tiffs to the administrative record would be particularly inappropriate
    here because Plaintiffs’ First Amendment claims turn, in part, on De-
    fendants’ intent. See Bos. All. of Gay, Lesbian, Bisexual & Transgender
    Youth v. U.S. Dep’t of Health & Human Servs., 557 F. Supp. 3d 224, 245
    (D. Mass. 2021) (“[L]imiting the scope of review to the administrative
    record makes little sense in the context of an inquiry into illicit ani-
    mus.”); Saget v. Trump, 375 F. Supp. 3d 280, 368 (E.D.N.Y. 2019) (“If
    this case were limited to the administrative record, as the Government
    suggests, it would be impossible to conduct the full analysis of direct
    and circumstantial evidence Arlington Heights demands.”); see also
    ECF No. 73 (“MTD Op.”), at 59 n.9 (acknowledging that Plaintiffs “al-
    lege intent”).2


    immunity applies to “all equitable actions for specific relief against a federal
    agency or officer acting in an official capacity, and thus applies to any suit
    whether under the APA or not.” Commonwealth of Puerto Rico v. United
    States, 490 F.3d 50, 58 (1st Cir. 2007) (cleaned up). In any event, this case could
    proceed even without the APA’s waiver of sovereign immunity, because it seeks
    injunctive relief against ongoing unconstitutional conduct by the federal gov-
    ernment. See Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326–27
    (2015); see also Doe v. Trump, No. 25-CV-10135-LTS, 2025 WL 485070, at *6
    (D. Mass. Feb. 13, 2025).
       2 Defendants' assertion that discovery is necessarily limited to the admin-

    istrative record, even in cases raising independent constitutional claims, is be-
    lied even by the cases they cite. As these cases make clear, courts routinely
    consider the degree of overlap between APA and constitutional claims and
    whether the discovery sought would facilitate adjudication of the constitu-
    tional claims in deciding whether extra-record discovery is warranted. Jarita
    Mesa Livestock Grazing Ass’n v. U.S. Forest Serv., 58 F. Supp. 3d 1191, 1205,
    1237 (D.N.M. 2014) (plaintiffs’ APA and constitutional claims overlapped en-
    tirely); Chang v. USCIS, 254 F. Supp. 3d 160, 161–62 (D.D.C. 2017) (similar);
    Alabama-Tombigbee Rivers Coal. v. Norton, No. 01-cv-0194, 2002 WL 227032,


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        Further, there are a number of circumstances in which discovery is
    justified even in cases raising only APA claims. Particularly here, where
    Defendants deny that the challenged policy exists, Plaintiffs will be en-
    titled to discovery to determine the proper scope of, and to complete, the
    administrative record. See, e.g., Order Granting in Part Motion for
    Leave to Conduct Limited Discovery in Order to Complete and/or Sup-
    plement the Administrative Record, Greater Bos. Legal Servs. v. DHS,
    No. 21-cv-10083 (D. Mass. Feb. 2, 2024), Docket No. 115 (allowing doc-
    ument discovery and depositions of agency officials in these circum-
    stances). Moreover, as this Court has explained, discovery may be nec-
    essary “when bad faith is claimed[,] . . . when the evidence indicates
    that the agency relied on secret sources unavailable for public scrutiny,
    or when the plaintiff presents previously available evidence that the
    agency should have considered but did not.” City of Waltham v. U.S.
    Postal Serv., 786 F. Supp. 105, 117 (D. Mass. 1992) (citations omitted).
    Extra-record discovery is also permitted where an agency has “fail[ed]
    to explain administrative action as to frustrate effective judicial re-
    view.” Housatonic River Initiative v. U.S. Envtl. Prot. Agency, New Eng-
    land Region, 75 F.4th 248, 279 (1st Cir. 2023) (citation omitted). One or
    more of these exceptions is almost certain to apply here.

       Plaintiffs’ independent challenge to Defendants’ campaign of threats
    should not be limited to the administrative record even if Plaintiffs’
    challenge to the ideological-deportation policy is so limited. The cam-
    paign of threats encompasses not only public statements, but also the
    retaliatory arrests and detentions of students like Mahmoud Khalil,
    Rümeysa Öztürk, and Mohsen Mahdawi, which appear to have been
    carried out in a manner intended to cause maximum chill on university
    campuses. Not even Defendants argue that the APA limits judicial re-
    view to an administrative record where a plaintiff does not challenge
    agency action, as the APA defines it. See Defs.’ Mot. at 6 (stating that
    Section 706 “limits the review of constitutional claims challenging
    agency action”).

       Second, Defendants are also flat wrong in asserting that Kleindienst
    v. Mandel and Trump v. Hawaii limit the Court’s review and, therefore,
    discovery in this case. The “facially legitimate and bona fide” standard
    articulated in Kleindienst v. Mandel, 408 U.S. 753, 769–70 (1972), and
    discussed in Trump v. Hawaii, 585 U.S. 667 (2018), applies only where


    at *6 (N.D. Ala. Jan. 29, 2002) (similar); Moralez v. Perdue, No. 16-cv-00282,
    2017 WL 2264855, at *3 (E.D. Cal. May 24, 2017) (similar); Olsen v. United
    States, 414 F.3d 144, 155–56 (1st Cir. 2005) (plaintiff failed to show how the
    discovery they sought would support their legal claims); Housatonic River Ini-
    tiative v. EPA, 75 F.4th 248, 279 (1st Cir. 2023) (similar); Charlton Mem’l Hosp.
    v. Sullivan, 816 F. Supp. 50, 51–52, 54 (D. Mass. 1993) (similar); Harvard Pil-
    grim Health Care of New England v. Thompson, 318 F. Supp. 2d 1, 10–13
    (D.R.I. 2004) (similar); Outdoor Amusement Bus. Ass’n, Inc. v. DHS, No. 16-cv-
    1015, 2017 WL 3189446, at *21 (D. Md. July 27, 2017) (similar).


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    plaintiffs challenge the government’s decisions to deny admission to
    noncitizens seeking entry to this country—not, as here, where plaintiffs
    challenge the government’s policy to deport noncitizens already residing
    in this country. “The distinction between an alien who has effected an
    entry into the United States and one who has never entered” is crucial,
    because “[i]t is well established that certain constitutional protections
    available to persons inside the United States are unavailable to aliens
    outside of our geographic borders.” Zadvydas v. Davis, 533 U.S. 678,
    693 (2001). The Mandel standard therefore has no application here. See
    id. at 684–86, 690 (applying standard Fifth Amendment doctrine be-
    cause plaintiffs had already entered the United States); Am.-Arab Anti-
    Discrimination Comm. v. Reno (“AADC”), 70 F.3d 1045, 1063–66 (9th
    Cir. 1995) (explaining that it is well-settled that noncitizens living in
    the United States “are entitled to the full panoply of First Amendment
    rights”); see also Bridges v. Wixon, 326 U.S. 135, 148 (1945); Kwong Hai
    Chew v. Colding, 344 U.S. 590, 596 n.5 (1953); Parcham v. INS, 769
    F.2d 1001, 1004 (4th Cir. 1985); Ragbir v. Homan, 923 F.3d 53, 73 (2d
    Cir. 2019).

       In Mandel, U.S. citizens challenged the denial of a visa to a Belgian
    Marxist who had been invited to speak at a U.S. conference. 408 U.S. at
    756–57. That case “c[ame] down to [a] narrow issue”: whether, because
    plaintiffs “wish[ed] to hear, speak, and debate with Mandel in person,”
    the First Amendment “confer[red] upon [them] . . . the ability to deter-
    mine that Mandel should be permitted to enter the country.” Id. at 762.
    Reasoning that the authority Congress had delegated to the executive
    to render visa decisions would “become[] a nullity” if U.S. citizens could
    simply obtain court orders compelling noncitizens’ admission, the Court
    determined that it would not “look behind” the executive’s visa decision
    so long as there was a “facially legitimate and bona fide” reason for it.
    Mandel, 408 U.S. at 768–70. Mandel is rooted in the doctrine of consular
    nonreviewability, under which “visa denials are ordinarily unreviewa-
    ble by courts.” Dep’t of State v. Munoz, 602 U.S. 899, 903 (2024); see also
    id. at 906, 908. The case created a “narrow exception to th[at] bar,” id.
    at 908, permitting a “circumscribed judicial inquiry when the denial of
    a visa allegedly burdens the constitutional rights of a U.S. citizen.” Ha-
    waii, 585 U.S. at 703.

       Hawaii also dealt with the admission of noncitizens who had not yet
    entered the United States. In Hawaii, the Supreme Court addressed
    President Trump’s decision to deny admission to individuals from cer-
    tain Muslim-majority countries, exercising statutory authority that “ex-
    udes deference . . . in every clause” and “vests the President with ‘ample
    power’ to impose entry restrictions in addition to those elsewhere enu-
    merated in the INA.” Id. at 684 (citation omitted). The Court invoked
    Mandel but ultimately conducted rational basis review at the govern-
    ment’s invitation. Id. at 703–05; see State v. U.S. Dep’t of Com., 315 F.
    Supp. 3d 766, 810 (S.D.N.Y. 2018) (“[T]he deferential review referenced
    by the Court in Hawaii is that established by Kleindienst v. Mandel . . .


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    for challenges to the exclusion of foreign nationals from the country.”)
    (cited at Defs.’ Mot. 11).

        Because this case does not challenge the denial of admission to any
    noncitizen not already present in this country, Mandel and Hawaii do
    not apply, and Defendants cite no case to the contrary.3 In fact, Plain-
    tiffs know of no case in which a court has applied Mandel’s “facially
    legitimate and bona fide” standard or rational basis review to a First
    Amendment challenge to a deportation policy. To the extent courts have
    applied deferential standards in the deportation context, they have
    done so only to equal protection claims of selective enforcement against
    people who were concededly deportable on independent grounds, as in
    Reno v. American–Arab Anti–Discrimination Committee, 525 U.S. 471
    (1999). See, e.g., Kandamar v. Gonzales, 464 F.3d 65, 74 (1st Cir. 2006)
    (“emphasizing that the decision to remove Petitioner was based on the
    fact that he had overstayed his visa, not based on his national origin,”
    and that “a claim of selective enforcement based on national origin is
    virtually precluded by Reno”); cf. AADC, 70 F.3d at 1064–65 (holding
    that the Mandel standard is inapplicable in the deportation context).

       Finally, Defendants have failed to raise their objections in a timely
    manner. Defendants should have raised their objection to discovery and
    trial at the first case management conference, which took place nearly
    two weeks after the Court consolidated Plaintiffs’ preliminary injunc-
    tion motion with a trial on the merits, and a full week after the Court’s
    ruling on the motion to dismiss. The Court discussed discovery and the
    trial at length at that conference, but Defendants’ counsel did not object
    to discovery and trial. Moreover, since that conference, the parties have
    had multiple meet-and-confers at which Defendants could have put
    Plaintiffs and the Court on notice of their objections. Defendants’ elev-
    enth-hour assertion of arguments they should have raised weeks ago
    should not be permitted to derail or delay discovery to which Plaintiffs
    are entitled and that the Court has already recognized to be appropri-
    ate.


       3 Contrary to Defendants’ suggestion, see Defs.’ Mot. 8, whatever plenary

    authority the government may have to determine “who shall be admitted” to
    the country, Fiallo v. Bell, 430 U.S. 787, 795 n.6 (1977), that authority does not
    cordon off all immigration policy from ordinary constitutional review. See
    Zadvydas, 533 U.S. at 695 (explaining that immigration powers are “subject to
    important constitutional limitations”); INS v. Chadha, 462 U.S. 919, 941–42
    (1983) (requiring Congress to choose “a constitutionally permissible means of
    implementing” its immigration power); United States v. Brignoni-Ponce, 422
    U.S. 873, 884 (1975) (concluding that “broad congressional power over immi-
    gration” does not categorically alter the demands of the Fourth Amendment);
    United States v. Witkovich, 353 U.S. 194 (1957) (applying canon of constitu-
    tional avoidance to INA provision for expedited deportation); Dent v. Sessions,
    900 F.3d 1075, 1081 (9th Cir. 2018) (explaining that “[a] challenged law does
    not receive minimal scrutiny merely because it is related to immigration”).


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       The Court should deny Defendants’ Motion for a Protective Order
    and Motion to Dispense with a Rule 65(a) Trial on the Merits. To the
    extent formal briefing on Defendants’ motion would aid in the Court’s
    resolution of it, Plaintiffs propose the following schedule: Plaintiffs’ op-
    position due May 27; Defendants’ reply due May 28; and a hearing, if
    necessary, on May 29 or as soon as possible thereafter at the Court’s
    convenience.

                                          /s/ Ramya Krishnan
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